Dave Rubin and Jennie Feldman Rubin, Petitioners, v. Commissioner of Internal Revenue, RespondentRubin v. CommissionerDocket No. 45971United States Tax Court26 T.C. 1076; 1956 U.S. Tax Ct. LEXIS 87; September 20, 1956, Filed *87 Decision will be entered under Rule 50.  1. Held, deductibility of certain claimed business deductions determined.2. Held, where taxpayers had a net loss for 1945, their net operating loss carryover from the year 1944 must be applied against their net income for 1945 as adjusted under section 122 (d) of the Internal Revenue Code of 1939 before it may be carried over to the year 1946.3. Held, taxpayers did not prove they had a net operating loss for the year 1947.  Wentworth T. Durant, Esq., for the petitioners.Jackson L. Bailey, Esq., and Frank C. Allen, Esq., for the respondent.  Tietjens, Judge.  TIETJENS*1076  The Commissioner determined a deficiency in petitioners' 1946 income tax in the amount of $ 14,660.05.  Petitioners concede that their share of a certain partnership loss was overstated.  However, they disagree with the Commissioner's other adjustments.  There are three issues to be decided.  They involve (1) the Commissioner's disallowance of alleged business deductions in the amount of $ 2,329.52; (2) the Commissioner's disallowance of a net operating loss carryover deduction from the year 1944 to the year 1946 in the amount of $ 52,487.91; and (3) the Commissioner's disallowance of a claimed net operating loss carryback from the year 1947 to the year 1946.*1077  In a rehearing of this case, petitioners waived the right to introduce any further evidence other than in rebuttal to that introduced by the Commissioner.FINDINGS OF FACT. *89  Petitioners Dave Rubin and Jennie Feldman Rubin are husband and wife.  They resided in Amarillo, Texas, in the years 1946 and 1947 and were engaged in the "oil business." They filed their income tax returns for those years with the collector of internal revenue at Dallas, Texas.Petitioners' income tax return for 1946 disclosed a net loss of $ 50,209.33.  In arriving at this loss, petitioners deducted $ 679.11 for "car expense," $ 4,861.87 for "hotel, meals and travel," and $ 83,341.67 for "1944 loss carry-over." The Commissioner in his deficiency notice for 1946 disallowed, among other things, $ 2,329.52 of the "car expense" and "hotel, meals and travel" deductions as personal expenses and he disallowed the "1944 loss carry-over" in its entirety.During the year 1946, petitioner Dave Rubin was engaged in business dealings in Amarillo and Dallas.  These business dealings involved, among other things, oil leases and the production of oil. He made several trips to and from these cities during that year in pursuit of that business.Petitioners' income tax return for 1944 showed a net operating loss which after application as a carryback to the years 1942 and 1943 produced a net operating*90  loss carryover in the amount of $ 52,487.91.Petitioners' income tax return for 1945 reported a net loss of $ 10,808.39.  In computing this net loss, petitioners claimed a deduction for depletion of $ 2,520.43 and excluded $ 75,076.75 of long-term capital gains.Petitioners' income tax return for 1947 reported a net loss of $ 109,821.89.  On December 29, 1952, they filed an application for tentative carryback adjustment for the year 1947 to the year 1946 on Form 1045 in the amount of $ 99,401.98 and a claim on Form 843 for refund or abatement of tax resulting from the application of the carryback from 1947 to 1946 in the amount of $ 14,660.05.Petitioners' income tax returns for 1946 and 1947 were prepared from their books and records by William Swenson, a certified public accountant.  Swenson did not keep petitioners' books and records in the regular course of business, nor were they kept under his supervision.  Swenson's activity was limited to the final preparation of petitioners' income tax returns.On and prior to August 22, 1946, Dave Rubin owned an undivided one-half interest in certain properties which was the subject matter of a contract made on April 5, 1947, between Dave*91  Rubin, G. E. Hall, and Joe Stewart.  Rubin also held a power of attorney over an undivided *1078  one-eighth interest in such properties at that time.  Such interest was owned by William Saxe, Henry I. Saxe, Charlotte E. Saxe, and Maurece T. Saxe.  Milton Rosenblume, Miriam Emmer, and Mannie Jack Rubin each owned an undivided one-eighth interest in such properties at that time.Prior to April 5, 1947, a friendly suit for partition was begun in the District Court of Potter County, Texas, in which all of the above-named individuals plus certain others were made parties.  Still prior to April 5, 1947, Rubin acquired from Milton Rosenblume, Miriam Emmer, and Mannie Jack Rubin, all of the interests which they owned in the above-mentioned properties except for certain overriding royalties. This was accomplished by the exchange of deeds, conveyances, and assignments among the parties.On April 5, 1947, Rubin entered into an agreement with G. E. Hall and Joe Stewart which concerned the above-mentioned properties.  Part of the agreement is subsequently recited.The partition decree dated July 29, 1947, provided, among other things, that Hall and Stewart each owned undivided one-fourth*92  interests in the properties and certain mineral rights, that Milton Rosenblume, Miriam Emmer, Mannie Jack Rubin, William Saxe, Henry I. Saxe, Charlotte E. Saxe, and Maurece T. Saxe all were vested with certain overriding royalties in the properties and that Dave Rubin was vested with the title formerly vested in all of the above parties.  Rubin thus had an undivided one-half interest in such properties after the partition was complete.The above-mentioned Rubin-Hall-Stewart agreement provided in part as follows:For and in consideration of the rights herein granted, and of the promises of grantees, and of the duties and obligations undertaken and assumed by the grantees, as herein set forth, the said grantor, Dave Rubin, of the County of Potter, State of Texas, has granted, sold, assigned, and conveyed, and does by these presents grant, sell, assign, and convey unto the said grantees, G. E. Hall and Joe Stewart each an equal undivided one-fourth of the following described real and personal property:[The described property included, among other things, oil and gas leases, minerals, mineral interest and gas purchase agreements.]* * * *(a) As consideration for the foregoing grant, *93  sale, assignment, and conveyance, the said G. E. Hall and Joe Stewart, grantees, agree and promise Dave Rubin, grantor, that they will refinance grantor to the amount of $ 750,000.00, or to the amount of his indebtedness as of April 1, 1947, whichever amount is the smaller, by taking up, either directly or through Dave Rubin, such indebtedness as is owing by Dave Rubin or stands as charges or incumbrances against the property described * * * above * * * and that grantees will hold the amount of such indebtedness, after taking it up, as a charge or incumbrance against the oil and one-half of the gas to be produced from all the lands described in the aforesaid legal description paragraphs hereof, until the full amount of such indebtedness so to be taken up shall be repaid to the grantees * * **1079  (b) The grantees shall, as a material and primary consideration for this conveyance, grant, and assignment, drill and equip on said lands six wells for producing oil during each month hereafter, beginning immediately; provided only that material, supplies, and labor necessary for drilling and equipping six wells per month are available; if materials, supplies, and labor for drilling*94  and equipping six wells per month are not available, the grantees shall nevertheless drill and equip at least three wells per month until one hundred wells shall have been drilled and equipped on said land on 20 acre locations to be made by them; * * * The price for the drilling and equipping of each well hereunder is agreed to by [sic] $ 26,500.00, and grantees shall receive payment for that amount per well, out of production for drilling and equipping them as herein specified. * * *(c) It is agreed that grantor shall be entitled to manage and sell the gas produced from said lands, after it is produced, and the $ 2,550,000.00 consideration to be paid to grantor, as hereinafter specified and provided, shall receive credit for one-half of all proceeds of the sale of the gas until all amounts payable to grantees out of production provided for herein shall be fully paid; thereupon and thereafter said one-half of all proceeds of the sale of the gas shall be paid into the operating fund which is established herein.* * * *(e) Of all the proceeds of the oil and one-half the gas produced from said lands after grantees shall have received enough to liquidate and discharge the amount*95  expended by grantees in taking up the indebtedness of grantor, as aforesaid, and the amount of $ 26,500.00 per well for each well of the first fifty wells that grantees shall drill and equip hereunder, all royalties specified in the aforesaid leases shall be paid out of the production from which such royalties are payable under the terms of such leases; likewise, all the overriding royalties payable by the terms of grants or reservations shall be paid.  Twenty-five per cent of the proceeds of all the oil and one-half the gas not necessary to pay the foregoing items, royalties, and overriding royalties, shall constitute an operating fund, and seventy-five per cent of all the oil and one-half the gas not necessary to pay the foregoing items, royalties, and overriding royalties, shall constitute a drilling fund; but although these two funds are established, the establishing of them shall in nowise impair or militate against the right of G. E. Hall and Joe Stewart to manage both funds together * * * until full payment to G. E. Hall and Joe Stewart has been made for each of the second fifty wells that they shall drill and equip hereunder.(f) Until grantees shall have received from the*96  aforesaid production the amount expended by them in taking up the aforesaid indebtedness of grantor and the amount necessary to pay grantees $ 26,500.00 for the drilling and equipping of each of the 100 wells that they shall drill and equip hereunder, the grantees shall be entitled to receive and disburse all the proceeds of the sale of the production except one-half of the proceeds of the sale of the gas, from said leases, in accordance with the terms hereof; * * *(g) After all amounts specified in paragraphs (a), (e), and (f) above have been fully liquidated and discharged, the royalties and overriding royalties shall thereafter be paid as in said paragraphs (a), (e), and (f) specified, and the costs and expenses of operating such properties; and, in the discretion of grantees, the drilling and equipping of any additional wells shall be paid out of the operating fund.  Of the remaining seventy-five per cent of the proceeds of all the oil and gas, Dave Rubin shall be entitled to one-half on his own account and the grantees shall be entitled to the other one-half on their own account; and the parties shall be paid directly by the purchasers of such production, *1080  except that*97  Dave Rubin shall also be paid directly by the purchasers of such production one-half of the one-half to which the grantees are entitled, until Dave Rubin shall have received from the proceeds of one-half of grantees' one-half the sum of two million five hundred and fifty thousand dollars, less whatever amount Dave Rubin shall have already received from one-half of the proceeds of the sale of gas, this payment of $ 2,550,000.00 out of such production being consideration to grantor for making this grant, sale, assignment, and conveyance.Hall and Stewart paid $ 750,000 to certain creditors of Rubin during the year 1947 pursuant to the above contract.Petitioners, in their 1947 income tax return, reported $ 485,265.50 as consideration for the sale of properties to Hall and Stewart, which amount was reflected on Rubin's books and records as payment of his debts by Hall and Stewart during 1947.  In their 1947 income tax return, petitioners claimed an adjusted basis in the amount of $ 493,474.26 (cost $ 527,097.16 less depreciation and depletion $ 33,622.90) for determining gain or loss on the transaction with Hall and Stewart.A revenue agent examined petitioners' income tax returns for*98  the years 1947, 1948, and 1949.  He determined that the correct basis for computing gain or loss on the sale of the undivided one-fourth interests in the properties transferred, sold, assigned, and conveyed to Hall and Stewart was $ 212,744.56.  After completion of the examination of petitioner's income tax return for 1947, corrected taxable income for that year amounted to $ 91,412.50.  However, a deficiency for 1947 was not determined by the Commissioner since petitioners' income tax return for 1949 reflected a loss in excess of $ 300,000, which, when carried back, would result in no taxable income for the year 1947.Ultimate Findings of Fact and Conclusions of Law.Petitioners' living expenses at the Hotel Herring in Amarillo in the amount of $ 1,131.76 were personal expenses.Petitioners' transportation expenses between Amarillo and Dallas in the amount of $ 508.49 were ordinary and necessary business expenses.Cash expenditures of petitioners in the amount of $ 689.27 were personal expenses.Petitioners' net operating loss carryover from the year 1944 must be applied against their net income for 1945 as adjusted under section 122 (d) before it may be carried over to the year*99  1946.Petitioners' debts were discharged by Hall and Stewart in the amount of at least $ 485,265.50 in the year 1947, pursuant to the contract entered into by Rubin, Hall, and Stewart on April 5, 1947.Petitioners did not prove a net operating loss for the year 1947.*1081  OPINION.The first issue in this case involves the propriety of the Commissioner's disallowance of $ 2,329.52 in claimed business deductions for the year 1946 for lack of substantiation.  The amount disallowed consisted of three items: Living expenses at the Herring Hotel in Amarillo, Texas, in the amount of $ 1,131.76; transportation expenses between Amarillo and Dallas, Texas, in the amount of $ 508.49; and "cash expenditures" in the amount of $ 689.27.  Petitioners argue that these amounts represent ordinary and necessary expenses paid by them during the taxable year in carrying on their trade or business and thus they are deductible under section 23 (a) of the Internal Revenue Code of 1939.The Commissioner determined that the living expenses incurred at the Hotel Herring were personal expenses and with this we agree.  If travel expenses, including the entire amount spent for food and lodging, are to be*100  deductible they must be ordinary and necessary and they must be paid or incurred by the taxpayer while away from home in the pursuit of his trade or business.  Sec. 23 (a) (1) (A).  Swenson, the accountant who prepared petitioners' income tax returns, testified that petitioners' home in 1946 was in Dallas and that they made several business trips to Amarillo that year.  On the other hand, Rubin testified that in 1946 his home was in Amarillo.  Also petitioners' 1946 income tax return, prepared by Swenson, gave an Amarillo address.  Though the evidence as to residence is contradictory we have found that petitioners' home in the year 1946 was in Amarillo, not Dallas.  Therefore, their expenses at the Hotel Herring in Amarillo were not deductible since not paid or incurred while away from home.  They were personal expenses as the Commissioner had determined.The Commissioner disallowed transportation expenses between Amarillo and Dallas for the year 1946 in the amount of $ 508.49.  He determined that these represented personal expenses. We do not agree.  Dave Rubin had business dealings in both Amarillo and Dallas during 1946.  His testimony indicated that he maintained a business office*101  in Dallas that year.  He also testified that he traveled between Amarillo and Dallas on business during 1946.  Twenty-four canceled checks, totaling $ 537.81, paid to the order of Braniff Airways Incorporated and drawn by Dave Rubin were also presented in evidence.  The Commissioner argues that petitioners have not overcome the burden of proof that is placed upon them.  In view of the evidence, we hold that the Commissioner erred in disallowing travel expenses in the amount of $ 508.49 for the year 1946.*1082  Petitioner Dave Rubin drew many checks payable to the order of "cash" during the year 1946.  He claimed that certain of them were spent on ordinary and necessary business expenses during that year and deducted them on his income tax return. The Commissioner disallowed these deductions to the extent of $ 689.27.  Rubin testified that although he could read, he was unable to write any words other than "Dave Rubin" and "cash," hence the necessity for drawing his checks to the order of cash and not to specific persons.  Petitioners introduced into evidence 27 checks totaling $ 873, drawn to the order of cash.  On examination we find that 17 of these checks, totaling $ 530, *102  had been cashed by Rubin at his own bank in Dallas, at a store called Morris Mens Wear in Dallas, or at the Herring Hotel in Amarillo.  No other documentary evidence was introduced to substantiate petitioners' position.  In view of the evidence, or lack of it, we hold that petitioners have not shown that the Commissioner erred in determining that "cash expenditures" in the amount of $ 689.27 were personal expenses and hence not allowable as deductions.Petitioners argue that they are entitled to a deduction on their 1946 income tax return in the amount of $ 52,487.91 under section 23 (s) of the Internal Revenue Code of 1939 as a net operating loss carry-forward from the year 1944.Section 23 (s) allows a deduction for a net operating loss as computed under section 122.  The relevant provisions of section 122 are as follows:(a) Definition of Net Operating Loss. -- As used in this section, the term "net operating loss" means the excess of the deductions allowed by this chapter over the gross income, with the exceptions, additions, and limitations provided in subsection (d).(b) Amount of Carry-Back and Carry-Over. -- * * * *(2) Net Operating Loss Carry-Over. -- (A) Loss for*103  Taxable Year Beginning Before 1948.  -- Except as provided in subparagraphs (D) and (E), if for any taxable year beginning before January 1, 1948, the taxpayer has a net operating loss, such net operating loss shall be a net operating loss carry-over for each of the two succeeding taxable years, except that the carry-over in the case of the second succeeding taxable year shall be the excess, if any, of the amount of such net operating loss over the net income for the intervening taxable year computed --(i) with the exceptions, additions, and limitations provided in subsection (d) (1), (2), (4), and (6), and* * * *(d) Exceptions, Additions, and Limitations.  -- The exceptions, additions, and limitations referred to in subsections (a), (b), and (c) shall be as follows: (1) The deduction for depletion shall not exceed the amount which would be allowable if computed without reference to discovery value or to percentage depletion under section 114 (b) (2), (3), or (4);* * * **1083  (4) Gains and losses from sales or exchanges of capital assets shall be taken into account without regard to the provisions of section 117 (b).  As so computed the amount deductible on account*104  of such losses shall not exceed the amount includible on account of such gains.(5) Deductions otherwise allowed by law not attributable to the operation of a trade or business regularly carried on by the taxpayer shall (in the case of a taxpayer other than a corporation) be allowed only to the extent of the amount of the gross income not derived from such trade or business.  For the purposes of this paragraph deductions and gross income shall be computed with the exceptions, additions, and limitations specified in paragraphs (1) to (4) of this subsection.Petitioners sustained a net loss in the year 1944, which after being carried back to the years 1942 and 1943, and after being adjusted as provided by section 122(d), produced a net operating loss carryover in the amount of $ 52,487.91.  Petitioners argue that since they sustained a net loss of $ 10,828.39 in the year 1945, then they need not adjust the carryover for any section 122(d) items used in computing the net loss in 1945, but may carry forward directly to the year 1946, the $ 52,487.91 net operating loss. This is the proper result, they argue, since section 122(b)(2)(A) only requires that the carryover be adjusted where*105  there is net income in the intervening years and here there was a net loss.We cannot agree with petitioners.  Their argument ignores the plain language of the statute.  Section 122(b)(2) (A) says in part that --the carry-over in the case of the second succeeding taxable year shall be the excess, if any, of the amount of such net operating loss over the net income for the intervening taxable year computed -- (i) with the exceptions, additions, and limitations provided in subsection (d)(1), (2), (4), and (6).  [Emphasis supplied.]The only logical interpretation we see for the above language is that in computing the amount of carryover for the second succeeding year, first the net income adjusted under section 122(d)(1), (2), (4), and (6) must be computed and then the net operating loss carryover must be applied against that net income as adjusted before it may be carried forward to the second succeeding year.  In this case, petitioners sustained a net loss of $ 10,808.39 in the year 1945.  In computing that net loss, petitioners deducted $ 2,520.43 for depletion and excluded from income, under section 117(b), capital gains of $ 75,076.75. *106  When these amounts are added back to the net loss, then a net income, as adjusted under section 122(d), is produced in the amount of $ 66,788.79.  Since the net operating loss carryover for the year 1945 is only $ 52,487.91, then there will be no net operating loss carryover available for the year 1946, which is the year in question.  Cf.  Bowers v. Commissioner, 80 F. 2d 215 (C. A. 2, 1935).*1084  Petitioners argue that even if they are not entitled to use the net operating loss carryover to reduce 1946 income, still there is no deficiency that year since they incurred a net loss in 1947 of $ 109,821.89 of which $ 99,401.98 was available as a carryback to the years 1945 and 1946 after adjustment under section 122 (d).  And since only $ 14,300.88 must be carried back to 1945, see supra, then $ 85,101.10 is available to reduce 1946 income.  To prove the net loss for 1947, Swenson, the accountant, testified that he prepared petitioners' returns for the year 1947 and that it was based upon the books and records of petitioners regularly kept in their business and that in his opinion they correctly reflected income for that year.  Swenson had these*107  books in court with him, available for examination by the Commissioner.  Petitioners introduced into evidence their income tax return for 1947, their application for tentative carryback adjustment, and their refund claim filed on Form 843.  At the first hearing of this case, the Commissioner did not contradict the testimony or evidence, but argued that petitioners had not sustained the burden of proof which was cast upon them.  Under these circumstances, we were of the opinion that petitioners had made a prima facie case that they suffered a net operating loss for the year 1947; however, they failed to show that such net operating loss resulted from the operation of a trade or business regularly carried on, which is a basic requirement.  See sec. 122 (d) (5), supra, and Lazier v. United States, 170 F. 2d 521 (C. A. 8, 1948).  On our own motion, for good cause, we set the case on the calendar for further hearing and ordered the parties to submit at that time, "either (1) An agreed computation showing the amount of any net operating loss carry-back from 1947; or (2) The amount of any such loss that can be agreed upon together with a specification*108  of items that cannot be agreed upon; or (3) Further evidence regarding any regular trade or business carried on by the petitioners in 1947 and any net operating loss sustained in that year." Petitioners filed a motion to strike the case from the calendar and to have it decided on the record presented.  We denied the motion.  At the rehearing petitioners renewed the motion on the basis that they thought that adequate evidence had been submitted for a determination.  They declined to offer any more evidence until the Commissioner made a case, though they contended that they retained the right to rebut it if the Commissioner went forward with the evidence.  Whereupon the Commissioner called an Internal Revenue agent who testified that he had examined petitioners' income tax returns and books and records for the years 1947, 1948, and 1949, and that they revealed that petitioners had not sustained a loss in the year 1947, but on the contrary had taxable income of $ 91,412.50.  This determination was mainly *1085  based on the agent's finding that petitioners realized gain in the amount of $ 272,520.94, one-half of which was long-term capital gain and one-half of which was short-term*109  capital gain, on a transaction that Dave Rubin entered into with G. E. Hall and Joe Stewart on April 5, 1947, instead of an ordinary loss of $ 8,208.76 as they reported in their 1947 income tax return. The discrepancy on that transaction resulted from the agent's finding that Rubin's adjusted basis in the property sold to Hall and Stewart was $ 212,744.56 and not $ 493,474.26 as petitioners claimed.  The Commissioner allowed only one-half of Rubin's basis against the consideration received on the sale, which petitioners' books and income tax return for 1947 showed to be $ 485,265.50, since Rubin only sold an undivided one-half interest in the property; and he also made other minor adjustments in the basis.Petitioners, on cross-examination of the agent, attempted to show error in his findings.  First, they asserted that it was incorrect to find that one-half of the gain on the Rubin-Hall-Stewart transaction was short-term capital gain, since at the time the contract was entered into, Rubin only owned one-half of the property and did not acquire the other half until July 29, 1947, in a partition suit.  Hence when the sale took place on April 5, 1947, Rubin sold all of the property*110  he held at that time and did not sell any of the property subsequently acquired.  Secondly, they asserted that it was error not to allow a deduction to Rubin for one-half of the intangible drilling costs incurred by Hall and Stewart in carrying out the contract as a deduction in computing 1947 income.  And thirdly, they asserted that Dave Rubin's books were incorrect and that none of his debts were discharged by Hall and Stewart in 1947 and hence income was overstated by $ 485,265.50.Petitioners' objections may be disposed of quickly.  Prior to entering into the agreement with Hall and Stewart on April 5, 1947, Rubin had acquired from Milton Rosenblume, Miriam Emmer, and Mannie Jack Rubin the undivided one-eighth interest which each owned in the properties in question except for certain overriding royalties. Also, Rubin held a power of attorney over the other undivided one-eighth interest.  The decree of partition stated that Rubin was thereby vested with the 4 above-mentioned one-eighth interests; however, as to 3 of the one-eighth interests, this merely was an echoing over of a prior acquisition.  Hence at the time that Rubin made the agreement with Hall and Stewart, he owned *111  seven-eighths of the properties and held a power of attorney over the other one-eighth. The Commissioner concluded that Rubin sold one-half of the properties which he originally owned and one-half of the properties which he subsequently *1086  acquired or held a power of attorney over.  Petitioners have not shown that this conclusion was incorrect and hence we uphold the Commissioner.When this case was first heard petitioners did not attempt to prove the amount of intangible drilling costs which were charged to Rubin and which it is now argued are deductible items.  Nor did they attempt to prove that the entries on Rubin's books, which indicated that his debts had been discharged by Hall and Stewart in 1947 in the amount of $ 485,265.50, were incorrect.  Instead they asserted that the tax return for 1947 was correct as filed and that it was based on Rubin's books which had been regularly kept in his business.  At the outset of the rehearing, petitioners, when given the privilege of doing so, declined to introduce any more evidence in regard to their 1947 net operating loss. After cross-examining the revenue agent, however, petitioners offered the testimony of Hall's, and Stewart's*112  regular accountant, one Masco, in order to show (1) the amount of intangible drilling costs which they claimed to be deductible by them in 1947, (2) the 1947 gross income from the properties involved in the April 5, 1947, contract, (3) the operating expenses for those years, and (4) the abandonment loss taken by Hall and Stewart that year.  These, petitioners argue, would show that Rubin received no income in 1947 as a result of the Rubin-Hall-Stewart agreement.  We denied petitioners the right to introduce this evidence, holding that it would not be in rebuttal of the Commissioner's evidence but would be new matter relating to the 1947 net operating loss and that petitioners had waived their right to introduce such evidence.Petitioners have not shown the intangible drilling costs incurred by Hall and Stewart in 1947 and chargeable to Rubin.  Therefore, even though these might be deductible items, we cannot allow them.Petitioners argue that no income was realized by Dave Rubin in 1947 when he entered into the contract with Hall and Stewart; that no income was realized by Rubin in 1947 when Hall and Stewart paid debts of his in the amount of $ 750,000 since the debts were not discharged, *113  i. e., Rubin now owed the $ 750,000 to Hall and Stewart instead of to his former creditors.  In spite of this we still find that Rubin realized income in 1947 in the amount of $ 485,265.50 as a result of the contract.  His books and records show that that amount of his indebtedness was discharged and it was so reported on petitioners' income tax return for 1947.  The agent testified that he examined the entries on the books relating to this, that he secured a list of the debts discharged, and that he talked to Rubin and his bookkeeper about it and satisfied himself "that it was the facts." Hall testified that he and Stewart had "taken up" Rubin's indebtedness pursuant to the contract in 1947 by paying *1087  Rubin's indebtedness. Petitioners also asserted several times that Rubin's books and records were properly kept and were correct.  The discharge of Rubin's debts was income to him.  See E. F. Simms, 28 B. T. A. 988, 1030 (1933). The fact that the grantees held the amounts of the indebtedness discharged under the agreement "as a charge or incumbrance against the oil and one-half of the gas" to be produced from the properties would not change *114  the result.  North American Oil Consolidated v. Burnet, 286 U.S. 417 (1932). The only evidence produced by the petitioners to show that none of Rubin's debts were discharged by Hall and Stewart in 1947 was Rubin's own self-serving testimony.  This is not sufficient to overturn our above finding.  The legal effect of the transaction was to discharge Rubin individually of his debts.We need not consider how petitioners' 1947 income was affected as a result of the operation of the properties involved in the Rubin-Hall-Stewart agreement of April 5, 1947, since no evidence was presented on this issue.We recognize that disposition of this case may appear to have been postponed for an inordinate length of time from the date of the original hearing.  This was occasioned, however, by representations of the parties from time to time that if additional time were available, complete audits could be made of the 1947 return and a settlement of the main issue could be agreed upon.  This did not eventuate and the Court was of the opinion that an opportunity for further hearing would be necessary before a proper disposition of the case could be made.  This opportunity*115  has been afforded the parties, with the foregoing result.Decision will be entered under Rule 50.  